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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SPIRE GLOBAL, INC.,
                                                    C.A. No. 1:25-cv-00168-GBW
                              Plaintiff,

               -against-

KPLER HOLDING SA,

                              Defendant.


    MOTION AND ORDER FOR ADMISSION PRO HAC VICE OF JULIA M. BRUCE

Pursuant to D. Del. Local Rule 83.5 and the attached certification, counsel moves the admission

pro hac vice of Julia M. Bruce of Wachtell, Lipton, Rosen & Katz to represent the defendant, Kpler

Holding SA, in this matter.



                                                     RICHARDS, LAYTON & FINGER, P.A.

                                                     /s/ Jason J. Rawnsley
                                                     Rudolf Koch (#4947)
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Dated: March 18, 2025




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          CERTIFICATION OF COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of New York, and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court’s Local Rules. In accordance with the Standing Order for

District Court Fund effective January 1, 2024, I further certify that the fee of $50.00 will be

submitted to the Clerk’s Office upon the filing of this motion.

                                                  /s/ Julia M. Bruce
                                                  Julia M. Bruce
                                                  Wachtell, Lipton, Rosen & Katz
                                                  51 West 52nd Street
                                                  New York, NY 10019
                                                  (212) 403-1000
 Dated: March 18, 2025                            JMBruce@wlrk.com
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                            ORDER GRANTING MOTION

       IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice of Julia M.

Bruce is granted.

 DATE: _______________________           ______________________________________
                                         UNITED STATES DISTRICT JUDGE
